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                           UNITED STATES DISTRICT COURT
                       FOR THE EASTERN DISTRICT OF NEW YORK


   BING GUAN, GO NAKAMURA, MARK
   ABRAMSON, KITRA CAHANA, and ARIANA
   DREHSLER,

                Plaintiffs,
                                                               No. 1:19-CV-6570 (PKC/MMH)
          v.

   ALEJANDRO MAYORKAS, Secretary of the U.S.
   Department of Homeland Security, in his official
   capacity; CHRIS MAGNUS, Commissioner of U.S.
   Customs and Border Protection, in his official
   capacity; TAE JOHNSON, Acting Director of U.S.
   Immigration and Customs Enforcement, in his official
   capacity,

                Defendants.


          NOTICE OF MOTION TO WITHDRAW AS ATTORNEY OF RECORD

  TO:    THE COURT, ALL PARTIES AND THEIR COUNSEL OF RECORD:

         PLEASE TAKE NOTICE that pursuant to Local Civil Rule 1.4, Mitra Ebadolahi of

  American Civil Liberties Union Foundation of San Diego & Imperial Counties hereby moves to

  withdraw as counsel for Plaintiffs Bing Guan, Go Nakamura, Mark Abramson, Kitra Cahana and

  Ariana Drehsler in the above captioned matter. Plaintiffs remain represented by their other

  attorneys of record and no substitution of counsel will therefore be necessary. Please remove

  Mitra Ebadolahi from the docket as counsel of record.

  Dated: April 21, 2022                               Respectfully submitted,
  San Diego, California                               By: s/ Mitra Ebadolahi
                                                      Mitra Ebadolahi
                                                      ACLUF San Diego & Imperial Counties
                                                      P.O. Box 87131, San Diego CA 92138-7131
                                                      Telephone: 619.398.4187
                                                      mebadolahi@aclusandiego.org
                                                      Attorney for Plaintiffs
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                             UNITED STATES DISTRICT COURT
                         FOR THE EASTERN DISTRICT OF NEW YORK


   BING GUAN, GO NAKAMURA, MARK
   ABRAMSON, KITRA CAHANA, and ARIANA
   DREHSLER,

                  Plaintiffs,
                                                                  No. 1:19-CV-6570 (PKC/MMH)
          v.

   ALEJANDRO MAYORKAS, Secretary of the U.S.
   Department of Homeland Security, in his official
   capacity; CHRIS MAGNUS, Commissioner of U.S.
   Customs and Border Protection, in his official
   capacity; TAE JOHNSON, Acting Director of U.S.
   Immigration and Customs Enforcement, in his official
   capacity,

                  Defendants.


  DECLARATION OF MITRA EBADOLAHI PURSUANT TO LOCAL CIVIL RULE 1.4

          I, Mitra Ebadolahi, respectfully declare under penalty of perjury pursuant to 28 U.S.C.

  § 1746 that the following is true and correct:

     1.        I am a Senior Staff Attorney employed by the ACLU Foundation of San Diego &

               Imperial Counties. I have served in this capacity since May 2013. I am licensed to

               practice law by the State of California and the State of New York.

     2.        I have been attorney-of-record in this case since this Court granted my pro hac vice

               application on January 27, 2020.

     3.        The procedural posture of the case is as follows: the parties are in the midst of

               discovery, which is governed by the Court’s Scheduling Order of December 17, 2021

               (Dkt. #70).

     4.        I am moving to withdraw as counsel for the plaintiffs in this case because I am ending
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            my employment at the ACLU Foundation of San Diego & Imperial Counties,

            effective April 28, 2022.

     5.     My departure from the ACLU Foundation of San Diego & Imperial Counties

            provides a satisfactory reason for, and requires, my withdrawal as an attorney in this

            case. My colleague Esha Bhandari has served as co-counsel in this case from the

            beginning and will continue as counsel for Plaintiffs in this action. Ms. Bhandari will

            capably represent Plaintiffs’ interests in the future.

     6.     Since this is a government case, there is no retaining or charging lien involved.


  Dated: April 21, 2022                                 Respectfully submitted,
  San Diego, California                                 By: s/ Mitra Ebadolahi
                                                        Mitra Ebadolahi
                                                        ACLUF San Diego & Imperial Counties
                                                        P.O. Box 87131, San Diego CA 92138-7131
                                                        Telephone: 619.398.4187
                                                        mebadolahi@aclusandiego.org
                                                        Attorney for Plaintiffs
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                                  CERTIFICATE OF SERVICE

         This is to certify that true and correct copies of the foregoing Notice of Motion to

  Withdraw as Attorney of Record by Mitra Ebadolahi were filed electronically on April 21,

  2022, with the United States District Court for the Eastern District of New York.

         Notice of this filing will be sent via electronic mail to all parties who have entered an

  appearance by operation of the Court’s electronic filing system. Parties may access this filing

  through the Court’s electronic filing system.

  Dated: April 21, 2022                                Respectfully submitted,
  San Diego, California                                By: s/ Mitra Ebadolahi
                                                       Mitra Ebadolahi
                                                       ACLUF San Diego & Imperial Counties
                                                       P.O. Box 87131, San Diego CA 92138-7131
                                                       Telephone: 619.398.4187
                                                       mebadolahi@aclusandiego.org
                                                       Attorney for Plaintiffs
